Case 2:04-cv-02728-.]DB-dkv Document 22 Filed 08/26/05 Page 1 of 3 Page|D 36

 

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UNITED STA'I`ES DISTR_ICT COURT _. D.C.

WESTERN DISTRICT OF TENNESSEE 0 n

5 AU(: 26 d lU: l,h
JAMES BAILEY, KEVIN BROGDON,
MARTY ELLIS, AUTUMN GARRETT,
PHILLIP GLENN, TERRY JANDA,
MICHAEL KISSELL, GREG MILLS,
ERIC NEWMAN, CHAD NlCI-IOLS,
DANNY PARKER, JAMES
TETTLETON and GENE YOUNG,
individually and on behalf of all persons
similarly situated

imiw_“imw

   

CIVIL ACTION NO. 04-2728

V.

LAUDERDALE COUNTY
AMBULANCE AUTHORITY and
LAUDERDALE COUNTY
GOVERNMENT,

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PLAINTIFFS, )
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DEFENDANTS. )
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ORDER GRANTING THE PARTIES’
JOINT MOTION TO STAY DISPOSITIVE MOTION DEADLINE
PENDING OUTCOME OF MEDIATION

 

Before the Court is the parties Joint Motion to Stay the Dispositive Motion
Deadline Pending Outcome of Mediation. For good cause shown, the parties’ motion is
hereby GRANTED. It is, therefore, ORDERED:

1. The deadline for filing dispositive motions is moved from August 19,
2005, to September 17, 2005.

2. The parties may hold the deposition of Plaintiffs’ declared expert, Robert

Vance, outside the discovery cut-off. Plaintiffs must, however, provide Defendants with

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with Ru|e 58 and/or 79( (a} FRCP on 5/ /g Q" "f§

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Mr. Vance’s report in time to allow two weeks of preparation following delivery of the
report prior to taking the deposition Should no report be provided, or the report is
provided at a time that two-weeks preparation time is not available prior to the trial date
in this cause, Mr. Vance will not be allowed to provide any testimony at trial.

3. By subsequent Notice of Re-Setting, the trial in this matter, as well as the
pretrial conference, and the date for proposed pretrial order, motions in limine and

proposed jury instructions deadlines will be reset to subsequent dates.

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. a ielBreen
nite States District Judge

Date: w 9~:,100(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02728 was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Kim Koratsky

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Honorable J. Breen
US DISTRICT COURT

